                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 LYNN, et al.,

                 Plaintiffs,

         v.                                                  No. 23-cv-2648 (DLF)

 DISTRICT OF COLUMBIA,

                 Defendant.


                           MEMORANDUM OPINION AND ORDER

        Before the Court is the plaintiffs’ motion for attorney’s fees under the Individuals with

Disabilities Education Act (“IDEA”) for their counsel’s services. Dkt. 8. For the reasons that

follow, the Court will grant the motion in part.

   I.         BACKGROUND

        The plaintiffs are the parents of E.L., a severely disabled child eligible for special education

under the IDEA. Compl. ¶ 6, Dkt. 1. E.L. has academic and medical disabilities requiring him to

be accompanied by a full-time nurse at all times. Id.

        On September 23, 2022, the plaintiffs filed an initial due process complaint under the IDEA

against the District of Columbia Public Schools (“DCPS”) and the Office of the State

Superintendent of Education (“OSSE”) because OSSE had failed to transport E.L. to school on a

school bus with a nurse on board. Pls.’ Mot. at 1–2. The hearing officer ordered DCPS and OSSE

to provide school transportation with a nurse no later than November 28, 2022. Id. at 2.

        After DCPS and OSSE failed to comply with this order, the plaintiffs filed a second due

process complaint on January 9, 2023, seeking transportation services and funding for a

compensatory education study once E.L. had returned to school for 30 days. Id.; Def.’s Opp’n at
2, Dkt. 10. The plaintiffs subsequently filed a motion for summary judgment, which DCPS

opposed. Pls.’ Mot. at 2; Def.’s Opp’n at 2. On March 23, 2023, the hearing officer granted the

motion, ordering OSSE to provide E.L. with nurse-accompanied school transportation and to

authorize up to $1,000 for an independent evaluator to conduct a compensatory education

evaluation. Pls.’ Mot. at 2; Def.’s Opp’n at 2.

         The plaintiffs now seek $81,559.00 in attorney’s fees and costs relating to the second IDEA

administrative action. Pls.’ Mot. at 2. This figure is based on $79,939.00 in attorney’s fees for

counsel’s work and $1,620.00 in compensation for an expert retained to opine on the form and

amount of the compensatory education owed to E.L. by the District of Columbia. See Pls.’ Ex. 3,

Dkt. 8-6; Pls.’ Reply at 2, Dkt. 11. Additionally, plaintiffs request that the Court award post-

judgment interest on any untimely payment. Pls.’ Mot. at 9.

   II.      LEGAL STANDARD

         Under the IDEA, “the court, in its discretion, may award reasonable attorneys’ fees . . . to

a prevailing party who is the parent of a child with a disability.” 20 U.S.C. § 1415(i)(3)(B)(i)(I).

An attorney may “recover for work when there is ‘a clear showing that the time was expended in

pursuit of a successful resolution of the case in which fees are being claimed.’” Baylor v. Mitchell

Rubenstein &amp; Assocs., P.C., 735 F. App’x 733, 736 (D.C. Cir. 2018) (per curiam) (quoting Nat’l

Ass’n of Concerned Veterans v. Sec’y of Def., 675 F.2d 1319, 1335 (D.C. Cir. 1982) (per curiam)).

In evaluating a motion for attorney’s fees and costs, a court must determine (1) whether the party

seeking the fees is a “prevailing party” entitled to fees; and (2) what fees are “reasonable” in terms

of the hours expended and the hourly rate claimed. See Robinson v. District of Columbia, 61 F.

Supp. 3d 54, 58 (D.D.C. 2014).




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          The party requesting fees bears the burden of demonstrating both the reasonableness of the

hourly rate sought and of the hours expended. See Dobbins v. District of Columbia, No. 16-cv-

01789, 2017 WL 4417591, at *3 (D.D.C. Sept. 29, 2017); Wood v. District of Columbia, 72 F.

Supp. 3d 13, 18 (D.D.C. 2014). A party may satisfy the latter burden “by submitting an invoice

that is sufficiently detailed to permit the District Court to make an independent determination

whether or not the hours claimed are justified.” Wood, 72 F. Supp. 3d at 18. If a party satisfies

this burden, the number of hours billed is presumed reasonable, and “the burden then shifts to the

[opposing party] to rebut this presumption.” Dobbins, 2017 WL 4417591, at *3 (citations and

internal quotation marks omitted). The district court retains discretion to reduce awards of

attorneys’ fees if “the time spent and legal services furnished were excessive considering the nature

of the action or proceeding.” 20 U.S.C. § 1415(i)(3)(F)(iii).

   III.      ANALYSIS

          Here, the defendant does not dispute that the plaintiffs are prevailing parties entitled to

attorney’s fees under the IDEA. Def.’s Opp’n at 2 n.1. The defendant contests the requested fees

award on the ground that counsel’s claimed rate and hours billed are excessive and thus

unreasonable. See id. at 2–3. The defendant further argues that the plaintiffs have failed to

establish the reasonableness of their claimed expert fees, warranting a reduction to their ultimate

award. See id. at 14–15. Finally, the defendant urges the Court to deny plaintiff’s request for post-

judgment interest. See id. at 15.

          While the plaintiffs initially sought a rate of $782 per hour, see Pls.’ Mot. at 3, they have

since agreed to the defendant’s request for a 25% reduction to their hourly rate, bringing the hourly

rate to $586.5, see Pls.’ Reply at 2–3. Thus, the remaining issues before the court are (1) whether

additional reductions to counsel’s hours are warranted; (2) whether counsel is entitled to recover




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for expert fees; and (3) whether an award of post-judgment interest is warranted. The Court will

address each issue in turn.

       A.      Number of Hours Reasonably Expended

       As an initial matter, the Court finds that the plaintiffs have satisfied their burden of

demonstrating the reasonableness of the number of hours expended in this litigation. The

plaintiffs’ counsel has provided a detailed invoice describing the nature of and the number of hours

dedicated to the billed tasks. See Pls.’ Ex. 3. The plaintiffs’ counsel also asserts that she has

maintained accurate and contemporaneous records of time billed and that she has exercised sound

billing judgment by not billing for time that was “excessive, not warranted, or not directly

connected with the matter at issue.” See Decl. of Carolyn Houck, Esq. at 2–3, Dkt. 8-2. The Court

has reviewed the invoice and Ms. Houck’s declaration and finds plaintiffs’ counsel’s billing

practices adequate and the time devoted to each task presumptively reasonable. Accordingly, the

defendant bears the burden of rebutting this presumption. The defendant presents five grounds for

reducing plaintiffs’ counsel’s hours.

       First, the defendant argues that plaintiffs’ counsel spent an excessive 27.4 hours preparing

a motion for summary judgment. Def.’s Opp’n at 12–13. In support of this proposition, the

defendant cites to Barton v. United States Geological Surv., No. 17-cv-1188 (ABJ), 2019 WL

4750195 (D.D.C. Sept. 29, 2019). There, the district court found that the dedication of seventeen

hours to drafting the background section of a summary judgment brief was unreasonable and

reduced the amount to twelve hours. See Barton, 2019 WL 4750195, at *4. By contrast, plaintiffs’

counsel here spent only 10.2 hours drafting the summary judgment motion, which the Court does

not find unreasonable. See Pls.’ Ex. 3. The defendant provides no basis for the Court to determine




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that the remaining 17.2 hours spent on research, preparation of exhibits and other documents, pre-

filing review, and correspondence with relevant parties were excessive or unreasonable.

        Second, the defendant contends that plaintiffs’ counsel devoted an excessive amount of

time to researching and corresponding with OSSE on the issue of extended eligibility because the

plaintiffs ultimately abandoned that demand. See Def.’s Opp’n at 13. However, the fact that the

plaintiffs opted for an alternative plan does not render unreasonable their efforts to thoroughly

evaluate all options for an appropriate compensatory education award. See Pls.’ Reply at 3–4.

Accordingly, the Court does not find that the time plaintiffs’ counsel expended on the extended

eligibility issue to be excessive.

        Third, the defendant argues that the plaintiffs did not prevail against it and that the Court

should accordingly decline to reimburse time spent on claims against the defendant. See Def.’s

Opp’n at 13. While courts do have discretion to deny attorney’s fees for work on unsuccessful

motions, see, e.g., Walker v. Thomas, No. 14-cv-515 (CKK), 2015 WL 7428531, at *6 (D.D.C.

Nov. 20, 2015), the Court does not find this characterization applicable to the plaintiff’s efforts

here. The plaintiffs sought an order from the Office of Dispute Resolution requiring “OSSE and/or

DCPS to implement the IEP immediately.” Def.’s Ex. 1B, Dkt. 10-2. The plaintiffs were

ultimately successful in obtaining the requested relief. See Pls.’ Ex. 1 at 4. Further, none of the

plaintiffs’ claims were denied on the merits. See id. at 3–5; cf. Portillo v. Smith Commons DC,

LLC, No. 20-cv-49 (RC), 2022 WL 3354730, at *8 (D.D.C. Aug. 13, 2022) (declining to reimburse

attorney for work on a motion that was ultimately denied on the merits). That the hearing officer

directed the relief at OSSE, rather than DCPS, does not mean that the plaintiffs’ claims against

DCPS were unsuccessful. To the contrary, the plaintiffs’ “absolute success” before the Office of




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Dispute Resolution indicates that their efforts were pursued in good faith and merit full

recompense. Falica v. Advance Tenant Servs., Inc., 384 F. Supp. 2d 75, 81 (D.D.C. 2005).

       Fourth, the defendant claims that plaintiffs’ counsel billed time relating to a non-

compensable resolution session.      See Def.’s Opp’n at 13; Pls.’ Ex. 3 at 2–3; 20 U.S.C.

§ 1415(f)(1)(B); § 1415(i)(3)(D)(ii)–(iii). The plaintiffs contend that no resolution session ever

took place. See Pls.’ Reply at 4. As far as the Court can discern, this contention appears to be

inaccurate: the plaintiffs’ motion for summary judgment discusses a resolution session meeting on

January 19, 2023, between DCPS, a resolution specialist, E.L.’s parents, and counsel. See Def.’s

Ex. 1B. The IDEA makes clear that “[a]ttorneys’ fees may not be awarded relating to any meeting

of the IEP team” or to a “meeting conducted pursuant to subsection (f)(1)(B)(i).” 20 U.S.C. §

1415(i)(3)(D)(ii) – (iii). Because the January 19, 2023, meeting appears to be a resolution session

under the IDEA, the Court will deduct the 0.9 hours that plaintiffs’ counsel spent attempting to

schedule such a meeting. See Pls.’ Ex. 3 at 2–3 (time entries for January 17, 18, and 19, 2023).

Accordingly, the Court reduces the plaintiffs’ fee award by $527.85.

       Fifth, the defendant argues that the plaintiffs’ counsel ought not fully recover for 8.8 hours

spent preparing disclosures on the basis that this time was billed for clerical work not compensable

at the full rate for legal services. Def.’s Opp’n at 14. The Court agrees with the defendant that the

time entries for March 17, 2023 (6.3 hours—“Go through all emails, organize, print, summarize

for disclosures”) and March 18, 2023 (2.5 hours—“Complete disclosures, inc. copying, tabbing,

labeling, etc., and making exibit [sic] list with two kinds of page numbers, per HO directive.”),

Pls.’ Ex. 3 at 7–8, comprise clerical tasks not requiring legal expertise, see, e.g., Robinson v.

District of Columbia, 61 F. Supp. 3d 54, 66–67 (D.D.C. 2014). Consistent with the approach taken

by other courts in this district, the Court will reduce plaintiffs’ counsel’s rate by 50% for time




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entries relating to clerical tasks. See id. That brings the rate for clerical tasks to $293.25 per hour,

resulting in a fee reduction of $2,580.60.

        B.      Expert Fees

       The defendant also challenges the plaintiffs’ attempt to recover $1,620.00 in expert fees.

See Def.’s Opp’n at 14–15. While the IDEA itself does not support the recovery of expert fees,

“under District of Columbia [l]aw, a Court ‘may award reasonable expert witness fees as part of

the costs to a prevailing party,’ in IDEA cases.” Wright ex rel J.J. v. District of Columbia, No. 18-

cv-2818 (ABJ), 2019 WL 4737699, at *6 (D.D.C. Sept. 28, 2019) (quoting D.C. Code § 38-

2571.03(7)(A)). The prevailing party bears the burden of establishing the reasonableness of

experts’ rates. Id. A party may meet this burden by providing documentation that the claimed

rates “are based on the rates prevailing in the community for other experts providing similar

services in similar cases.” Id. at *7 (internal quotation marks omitted).

       The Court agrees with the defendant that the plaintiffs have failed to meet this burden.

While the plaintiffs contend that “[e]xpert [f]ees are routinely paid in this district,” Pls.’ Reply at

4, they have failed to provide any evidence whatsoever supporting the reasonableness of the

expert’s fees in this case. “Accordingly, the Court denies the fee for experts without prejudice to

reconsideration based on an additional submission.” Wright, 2019 WL 4737699, at *7.

       C.      Post-Judgment Interest

       Finally, the plaintiffs request an award of post-judgment interest in the event that payment

from the District is untimely. See Pls.’ Mot. at 9–10. The plaintiffs contend that such an award is

necessary given “the District’s well documented history of untimely payment of attorneys’ fees.”

Pls.’ Mot. at 10; see Houck Decl. at 3–4 (noting DCPS’s failure to reimburse counsel’s client for

reasonable attorney’s fees “in a timely and fair manner); J.T. v. District of Columbia, 652 F. Supp.




                                                   73d 11, 37 (D.D.C. 2023) (noting that the District has a “poor payment track record” justifying an

award of post-judgment interest).

       The Court agrees with the plaintiffs’ characterization of DCPS’s history of untimely

payments to successful IDEA litigants. It also notes that in this very case, the plaintiffs had to file

not one, but two, due process complaints to obtain the services to which their child was lawfully

entitled because DCPS disregarded the November 9, 2022, order requiring prompt transportation

services for E.L. See Pls.’ Mot. at 2. Given DCPS’s repeated delays in blatant disregard for

individuals’ IDEA rights, the Court finds it reasonable to award post-judgment interest pursuant

to 28 U.S.C. § 1961(a). See, e.g, Docket in Malloy v. District of Columbia, No. 20-cv-3219-DLF;

J.T., 652 F. Supp. 3d at 37; see also 28 U.S.C. § 1961(a) (permitting interest to be ordered on “any

money judgment in a civil case recovered in a district court . . . from the date of the entry of the

judgment.”).




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                                          CONCLUSION

       For the foregoing reasons, the Plaintiffs’ motion for attorney’s fees is GRANTED

IN PART. It is hereby

       ORDERED that the defendant promptly pay, on or before September 26, 2024, the

plaintiffs $76,830.55 in attorney’s fees and costs; and it is further

       ORDERED that, for any delay in payment beyond September 26, 2024, the defendant

shall be liable for post-judgment interest “calculated from the date of the entry of” this judgment

at the statutory rate, 28 U.S.C. § 1961(a).

SO ORDERED.




                                                               ________________________
                                                               DABNEY L. FRIEDRICH
                                                               United States District Judge
August 27, 2024




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